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  0043.006- 12:38. SUMMARY: Jermaine Houston and Tyrell Thomas comment on snitches.
                A BGC member who cooperated with law enforcement was brought up in the
                conversation.

  HOUSTON: Know I’m saying? But… it’s… it’s… it’s a lot…it’s a lot of shit man. You know
           I’m saying? A lot of foul shit man. A lot of niggas doing some undercover shit…
           fuckin’ with these police…

  TT:          Hold up… hold up… hold up… hold up…

  UM:          What’s up?

  TT:          [UI] right now Red? Go on and get in the middle.

  UM:          Fuck you. [UI] nigga thinks he has [UI]

  UM:          [UI] coulda’ waited.

  UM:          Nigga said hoedown. Nigga crazy!

  UM:          Hoedown!

  UM:          Go ahead.

  CHS:         I’m busy baby, I’m a call you back.

  HOUSTON: I’m… I’m just saying man… you know I’m sayin’…a mutha fucka doing a lot of
           shit with these police’s…

  CHS:         I said I’m a call you back. I’m busy.

  HOUSTON: … and a lot of shit going on man… some fishy shit man.

  UM:          Yeah.

  HOUSTON: Fishy shit my nigga.

  TT:          Look… look how um…

  UM:          Double R.

  TT:          [UI] down there…

  UM:          And Double R get hit…


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  TT:         Yeah.

  UM:         [UI] it’s the Fed’s though.

  TT:         It’s the Feds.

  UM:         The Feds going up in there?

  HOUSTON: At Double R house?

  TT:         You didn’t go down?...

  UM:         Nobody back there!

  UM:         [UI] jail.

  HOUSTON: For what?

  UM:         It’s crazy.

  TT:         Him and the little homie. Nah, but…

  UM:         They haven’t even charged em yet…

  UM:         Him and Tiny Toon…

  TT:         …you know… you got paperwork where… man…they…they describing shit.

  UM:         Yeah, they know where shit at.

  TT:         They know where the shit is at. But I talked like…

  UM:         [UI]

  TT:         … that’s somebody like in they circle man… it’s… you know… know where the
              stash spot at.

  UM:         Yeah, yeah.

  TT:         Only they know who they uh…know who in they circle and they got… figure out
              who that mutha fucka is… that’s doing talkin’.

  UM:         Uh-huh.

  UM:         I’m like this…

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  TT:          I’m telling you, there’s somebody talking.

  HOUSTON: I’m… I’m… I’m… I’m like this here man…I’m like this. Nigga… a nigga… if a
           nigga talkin’ man…he… he’s no good homie.

  TT:          Nah… nah…

  UM:          Nobody…

  TT:          …he ain’t no good around here. Nowhere else! He ain’t good nowhere.

  HOUSTON: Period man. You know what I’m saying? And… and… and… and… [UI] my
           nigga. And I’m… I’m… I’m like a lot of shit need to be aired out though. Ain’t
           no more hiding shit man. You foul, you foul. And you foul, you getting’ the fuck
           up out of here!

  UM:          So what you do wit a snitch? [UI]

  HOUSTON: You already know what to do with a snitch. Don’t ask a stupid question. That’s a
           dumbass question. If you bout your business… it is about… it is a dumb
           question. Let me tell… let me tell you why it’s a dumb question my nigga. I’m…
           I’m say it not in a disrespectful way though. It… it… it’s a dumb question
           because you know you’re suppose to do anyway.

  TT:          Really it is. [UI] snitchin’.

  HOUSTON: What’s a green light my nigga? Green…go. Red light means stop my nigga.
           What…what…what you want me to tell you? You know I mean?

  TT:          What… there’s different kind of snitches?

  UM:          It’s all the same shit.

  UM:          [UI] nigga snitch so they just kick him out the set.

  UM:          Who?

  UM:          Noodles right?

  HOUSTON: He shouldn’t be around here. Period!

  TT:          I don’t know what happened in that situation. I know he ain’t around here. I don’t
               know where he at.


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  HOUSTON: Yeah.

  TT:          Yeah, and he talked some shit that he didn’t…had no knowledge bout… wasn’t
               even there.

  CHS:         Yeah… yeah.

  TT:          Yeah. It was some weird shit how he did it though! You know I’m…

  CHS:         Yeah. He was trying to get paid.

  0043.006- 14:56: SUMMARY Houston, Thomas, and Pete continue to talk about snitches.
                They reference an incident in the past with BGC member “Vamp” Donald
                Woods and “paperwork” [law enforcement documentation of cooperation]

  UM:          But… but… it like this here too.

  UM:          [UI]

  CHS:         Yeah! That’s what he say.

  HOUSTON: Its like you and you and you and Vamp’s issue my nigga. I don’t… I don’t… I’m
           sayin’… I think a mutha fucka probably can handle that… you know what I’m
           saying…how ya’ll can’t handle it, you know what I’m sayin’…cause when a
           nigga pull up and certain people and bitches out here, nigga hop out…nigga
           blowin’ a nigga… woo woo wha…woo woo wha. What’s going on? You know
           what I’m saying? Somebody foul and somebody telling the truth. You know what
           I’m saying? Somebody lying!

  TT:          But ain’t nobody brought no paperwork.

  UM:          So therefore…

  UM:          That’s why it need to be put up front.

   TT:         Nigga gotta stop…

  UM:          My issue’s like right…

  TT:          Stop talkin’ about that.

  UM:          Okay look…

  TT:          Nigga can’t… uh… uh… produce no paperwork. They can’t say nothing!


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